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     Sacramento, California 95814
 4   Telephone: (916) 554-2797
 5
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )   CR. S-07-515 WBS
12              Plaintiff,             )
                                       )   STIPULATION AND [PROPOSED] ORDER
13                                     )   CONTINUING STATUS CONFERENCE AND
           v.                          )   EXCLUDING TIME
14                                     )
     JORGE CHAVEZ et al.,              )
15                                     )
                Defendants.            )   Hon. William B. Shubb
16                                     )
17
18         The parties request that the status conference currently set
19   for November 17, 2008, be continued to February 17, 2009, and
20   stipulate that the time beginning November 17, 2008, and
21   extending through February 17, 2009, should be excluded from the
22   calculation of time under the Speedy Trial Act.         The parties
23   submit that the ends of justice are served by the Court excluding
24   such time, so that counsel for each defendant may have reasonable
25   time necessary for effective preparation, taking into account the
26   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv); Local
27   Code T4.
28   ///

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 1        The parties are in the process of discussing and negotiating
 2   the various plea offers in this case.      Each defendant will need
 3   time to consider his or her offer.      Additionally, counsel for
 4   each defendant needs more time to review the discovery in this
 5   case, discuss that discovery with their respective clients,
 6   consider evidence that may affect the disposition of this case,
 7   and discuss with their clients how to proceed.        The parties
 8   stipulate and agree that the interests of justice served by
 9   granting this continuance outweigh the best interests of the
10   public and the defendants in a speedy trial.       18 U.S.C. §
11   3161(h)(8)(A).
12                                           Respectfully Submitted,
13                                           McGREGOR W. SCOTT
                                             United States Attorney
14
15   Dated: November 14, 2008               By:/s/ Michael M. Beckwith
                                               MICHAEL M. BECKWITH
16                                             Assistant U.S. Attorney
17
     Dated: November 14, 2008               By:/s/ Patrick K. Hanly
18                                             PATRICK K. HANLY
                                               Attorney for defendant
19                                             Jorge Chavez
20
     Dated: November 14, 2008               By:/s/ Thomas A. Johnson
21                                             THOMAS A. JOHNSON
                                               Attorney for defendant
22                                             Armando Chavez
23
     Dated: November 14, 2008                By:/s/ Michael B. Bigelow
24                                              MICHAEL B. BIGELOW
                                                Attorney for defendant
25                                              Alex Hernandez
26
     Dated: November 14, 2008            By:/s/ Daniel M. Davis
27                                          DANIEL M. DAVIS
                                            Attorney for defendant
28                                          Juan Villa, Jr.

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 1
     Dated: November 14, 2008           By:/s/ Hayes H. Gable
 2                                         HAYES H. GABLE, III
                                           Attorney for defendant
 3                                         Jamie Jiminez
 4
     Dated: November 14, 2008           By:/s/ Kresta N. Daily
 5                                         KRESTA N. DAILY
                                           Attorney for defendant
 6                                         Maricella Villa
 7
     Dated: November 14, 2008           By:/s/ Michael Long
 8                                         MICHAEL LONG
                                           Attorney for defendant
 9                                         Jose Penalosa
10
                                      ORDER
11
          The status conference in case number CR. S-07-0515 WBS,
12
     currently set for November 17, 2008, is continued to February 17,
13
     2009, and the time beginning November 17, 2008, and extending
14
     through February 17, 2009, is excluded from the calculation of
15
     time under the Speedy Trial Act.       The Court finds that interests
16
     of justice served by granting this continuance outweigh the best
17
     interests of the public and the defendants in a speedy trial.         18
18
     U.S.C. § 3161(h)(8)(A).
19
20
     IT IS SO ORDERED.
21
22
     Dated:   November 17, 2008
23
24
25
26
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                                        3
